                                                                                                                                                                                                   Page:       1
                                                    Case 6:18-bk-04148-CCJ                     Doc 61        Filed 02/21/19             Page 1 of 3
                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                    ASSET CASES
Case No:             18-04148                        CCJ           Judge:        Cynthia C. Jackson                          Trustee Name:                      Marie E. Henkel
Case Name:           Richard John Lorenz, Jr.                                                                                Date Filed (f) or Converted (c):   07/12/2018 (f)
                                                                                                                             341(a) Meeting Date:               08/21/2018
For Period Ending:   02/21/2019                                                                                              Claims Bar Date:                   12/24/2018


                                  1                                             2                            3                            4                          5                             6

                         Asset Description                                    Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                       Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                              Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                        Exemptions,                                                                              Assets
                                                                                                      and Other Costs)

  1. 35119 Huff Road                                                              1,300,000.00                    9,599.18                                                       0.00                   9,599.18
     Eustis Fl 32726-0000 Lake
  2. 2008 Cadillac CTS Mileage: 60,000 Location: 35119 Huff                           5,000.00                        0.00               OA                                      0.00                        FA
     Road, Eustis Fl 32726 VIN 1G6KD57Y18U167917
  3. 2011 Cadillac XTS Mileage: 45,000 Location: 35119 Huff                          15,000.00                   15,000.00                                                9,000.00                           FA
     Road, Eustis Fl 32726 VIN 2G61P5S34D9100508
  4. 1950 Ford Tractor Location: 35119 Huff Road, Eustis Fl                           1,000.00                    1,000.00                                                    500.00                         FA
     32726
  5. Homemade Small Trailer                                                               250.00                   250.00                                                     225.00                         FA
  6. John Deere Jb Tractor Location: 35119 Huff Road, Eustis Fl                       3,500.00                    3,500.00                                                       0.00                   3,500.00
     32726
  7. 1950 Ford Tractor Location: 35119 Huff Road, Eustis Fl                           1,000.00                    1,000.00                                                    950.00                         FA
     32726
  8. 1950 Ford Tractor Location: 35119 Huff Road, Eustis Fl                           1,000.00                    1,000.00                                                    900.00                         FA
     32726
  9. 1950 Ford Tractor Location: 35119 Huff Road, Eustis Fl                           1,000.00                    1,000.00                                                    500.00                         FA
     32726
 10. Household Furniture, Computer, Tv, Location: 35119 Huff                          2,500.00                    2,500.00                                                    938.50                         FA
     Road, Eustis Fl 32726
 11. Books, Pictures, Collectibles Location: 35119 Huff Road,                             100.00                   100.00                                                 2,466.50                           FA
     Eustis Fl 32726
 12. Debtor's Clothes Location: 35119 Huff Road, Eustis Fl 32726                          100.00                   100.00                                                        0.00                        FA
 13. Tools And Machines And Lawn Mower Location: 35119 Huff                           6,000.00                    6,000.00                                                7,616.50                           FA
     Road, Eustis Fl 32726
 14. Cash                                                                             6,000.00                        0.00                                                       0.00                   5,600.00
     Location: 35119 Huff Road, Eustis Fl 32726
 15. Bank Of America Checking Account Ending In 3528                                      600.00                      0.00                                                       0.00                      98.44
 16. Central Environmental Services, Inc. 100% Stock                                        0.00                      0.00                                                       0.00                        FA
 17. Loans To Company Central Environmental Services, Inc.                          375,000.00                        0.00                                                       0.00                        FA
     $375,000
 18. Computers, Desk, Printers, Cabinets                                                  500.00                   500.00                                                        0.00                        FA
                                                                                                                                                                                                       Page:        2
                                                       Case 6:18-bk-04148-CCJ                     Doc 61         Filed 02/21/19             Page 2 of 3
                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
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                                     1                                              2                           3                             4                          5                             6

                            Asset Description                                    Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
                (Scheduled and Unscheduled (u) Property)                       Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

 19. Forklift                                                                                500.00                   1,000.00                                                    800.00                          FA
 20. Small Amount Of Truck Parts                                                         1,000.00                     1,000.00                                                    250.00                          FA
 21. Livestock, Poultry, Farm Raised Location: 35119 Huff Road,                                0.00                       0.00                                                       0.00                         FA
     Eustis Fl 32726
 22. 2004 Thunder Motorcycle VIN 1T9C1L2684F717062 (u)                                         0.00                   6,000.00                                                 4,500.00                           FA
 23. John Deere 4X2 (u)                                                                        0.00                   2,500.00                                                       0.00                    2,500.00
 24. American Security Safe (u)                                                                0.00                    400.00                                                        0.00                      400.00
 25. Golf Cart and Clubcar (u)                                                                 0.00                    800.00                                                     275.00                          FA
 26. FIRst Green Acct # 1076 (u)                                                        13,961.00                         0.00                                                       0.00                         FA
 27. FIREARMS (u)                                                                              0.00                    290.00                                                     290.00                          FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $1,734,011.00                   $53,539.18                                               $29,211.50                    $21,697.62
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                              Page:   3
                                                      Case 6:18-bk-04148-CCJ
Trustee is marketing asset # 1 for short sale, and will be auctioning non-exempt assets
                                                                                                Doc 61       Filed 02/21/19     Page 3 of 3
09/19/18 Notice of Asset
10/02/18 Motion for Relief by lender on asset # 1
10/22/18 Application to employ special counsel
5HVSRQVHWR0RWLRQIRU5HOLHI
10/23/18 Order authorizing employment of special counsel
10/31/18 Notice of Sale
11/19/18 Application to employ realtors
11/20/18 Order granting application to employ realtors
11/26/18 Order granting secured creditor relief, effective 2/11/19
11/29/18 Order granting application to employ appraiser
11/30/18$SSOLFDWLRQWRHPSOR\DXFWLRQHHU
12/03/182UGHUJUDQWLQJDSSOLFDWLRQWRHPSOR\DXFWLRQHHU
12/22/18 Report of Sale
01/09/19 Notice of Abandonment as to asset # 2



RE PROP #             1    --   Trustee is considering marketing this property for short sale
RE PROP #             2    --   01/09/19 Notice of Abandonment
RE PROP #            26    --   Trustee is researching whether objection to exemption should be filed

Initial Projected Date of Final Report (TFR): 07/15/2019             Current Projected Date of Final Report (TFR): 07/15/2019

Trustee Signature:        /s/ Marie E. Henkel       Date: 02/21/2019
                          Marie E. Henkel
                          3560 S. Magnolia Ave.
                          Orlando, FL 32806
                          (407) 438-6738
                          mehenkel@yahoo.com
